Ca se 2:18-cv-08363-P.]W Document 1 Filed 09/27/18 Page 1 of 11 Page |D #:1

1 MURRAY M. HELM, JR., SBN 90426
, LAW OFFICES OF
2 MURRAY M. HELM, ]R.
550 WEsT “c’ sTREET, sUrrE 1155
3 sAN DlEGo, cALIFoRNIA 92101

TELEPHONE: (619) 234-6744
FACSIMILE: (619) 234-6860

Attorneys for Use-Piaintiff Hudson P. DaVis, Inc.,
5 dba Davis Mechanical Systerns

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

10 UNITED sTATEs oF AMERICA, CAsE No:
for the use and benefit of HUDSON

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11 P. DAvls INC., dba DAVIs coMPLAINT oN MILLER ACT
ME_€:HANICAL sYsTEMs, a PAYMENT BoND 40 U.s.C 3131?
12 cahforma corporauon, AND PRoMPT PA MENT A T (3
_ , U.s.C. §3901)
13 Use-Plaintiff,
14 DEMAND FoR JURY TRIAL
V.

15 A&D GC, INC., a California

co oration; HARTFORD FIRE
16 IN URANCE coMi_>ANY, a
17 Connecticut corporation,

1 8 Defendants.

 

 

19 Use-Plaintiff Hudson P. Davis, Inc., dba Davis Mechanical Systerns alleges:
20

 

21 GENERAL ALLEGATIONS

22 1. Jurisdiction of this action is proper in this Court pursuant to the
23 Miller Act, Title 40 of the United States Code (“40 U.S.C.”), sections 3131 -
24 3134, and pursuant to the Prompt Payment Act, Titie 31 of the United States
25 Code (“31 U.S.C.), sections 3901-3907.

26 2. Pursuant to 40 U.S.C., section 3133(b)(3), Venue is proper in the
27 Central District of California (this “District”) because the contract Was performed
28 in this District. Pursuant to 31 U.S.C., sections 3901-3907, venue is proper in

 

COMPLAINT ON MILLER ACT PAYMENT BOND

 

 

 

(619) 234-6744

LAW OFF|CES OF MURRAY M. HELM, JR.
550 West “C" StreeL Suite 1155
San Diego, Califomia 92101

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this District because the contract work and payments were performed in this
District. _

3. Use-plaintiff Hudson P. Davis, Inc. dba Davis l\/Iechanical Systems
(“Davis”) is, and at all times mentioned was, a California corporation, duly
organized and existing under the laws of the State of California to perform the
work described below, and doing business and having its principal place of
business in the County of San Diego, State of California,

4. Davis is informed and believes defendant A&D GC, Inc. (“A&D”)
is, and at all times mentioned was, a California corporation, with its principal
place of business at ll465 Woodside Avenue, First Floor, Santee, California
92071, and doing business as a construction contractor in this District.

5. Davis is informed and believes defendant Hartford Fire lnsurance
Company (“Hartford ”) is, and at all times mentioned was, a Connecticut
corporation, duly qualified as a foreign corporation under the laws of the State of
California, and authorized to and doing business in the State of California as a
surety on Miller Act bonds required by the United States of America and its
various agencies, within the jurisdiction of this Court, and doing business as a
surety in this District.

6. At all times mentioned each defendant was an agent, principal,
representative, alter-ego and/or employee of the others and each was at all times
acting within the course and scope of said agency, representation and/or
employment, and with the permission of the others.

7. Davis is informed and believes that on or about August 27, 2013,
A&D entered into a written contract (the “Contract”) with the United States of
America, acting by and through the Department of Defense, Naval Facilities
Command Southwest, Naval 'Station San Diego, San Diego County, California
(the “Government”), for a certain work of improvement known as Contract No.

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COMPLAINT ON MILLER ACT PAYMENT BOND

 

(61 9) 234-6744

LAW OFFICES OF MURRAY |\/|. HELM, JR.
550 West “C" Street Suile 1155
San Diego, California 92101

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N62473-09-D-1658, Delivery Order No. 0008, D/B Project P900, Triton
Maintenance Training Facility, Pl\/ISO Renovation, Naval Base Ventura County,
Point l\/Iugu, California (the “Project”).

8. Davis is informed and believes on or about August 28, 2013, A&D
as principal, and Hartford, as surety, executed and delivered to the Government
payment bond no. 72BCSGN8313 in accordance with 40 U.S.C. section 3131
(the “Payment Bond”), whereby these defendants bound themselves jointly and
severally for the purpose of allowing a joint action or actions against them. The
Payment Bond inures to the benefit of persons or entities which provided labor,
services, materials or equipment to A&D, or a subcontractor of A&D, in the
prosecution of the work provided for in the Contract.

9. On or about October 28, 2014 Davis entered into a written
subcontract with A&D pursuant to which Davis agreed to furnish certain labor,
services, materials and equipment to the Project, generally consisting of
plumbing, mechanical sound, vibration and seismic control, basic mechanical
materials and methods, common piping for HVAC, thermal insulation for
plumbing and wet side mechanical, facility gas piping, low temperature water
heating system, heating boilers and water distribution for the D/B Triton
Maintenance Training Facility PMSO Renovation, for the agreed price of
$685,000.00, plus changes thereto pursuant to which the monetary amount of the
agreed price was increased (the “Subcontract”). A true and correct copy of the
Subcontract, exclusive of documents incorporated therein, is attached as Exhibit
“ 1” and incorporated by reference as though set forth in full at this point.

10. Despite timely demand to both A&D and Hartford, Davis has not
been paid the Subcontract balance of at least $6,672.73. Further, Davis is owed
interest on progress and retention payments A&D failed to pay in a timely
manner.

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COMPLAlNT ON MILLER ACT PAYMENT BOND

 

LAVV OFF|CES OF MURRAY i\/l. HELM, JR.
550 West C Street Suite 1155
San Diego, California 92101
(619) 234~6744

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FIRST CLAIM F()R RELIEF
(Breach of Contract - Against A&D)

11. Davis realleges and incorporates by reference paragraphs l through
10, above, as though set forth in full at this point.

12. Davis performed all conditions, covenants and promises required on
its part to be performed in accordance with the terms and conditions of the
Subcontract and changes to same.

13. A&D breached the Subcontract by failing and refusing to fully pay
Davis for the work performed, and failing to make timely payment of undisputed
progress and retention invoices

14. As a direct and proximate result of A&D’s breach, Davis has
incurred damages not yet fully ascertained and subject to proof, but in the sum of
at least $6,672.73, together with interest at the maximum legal rate from a date
according to proof.

15. Pursuant to the terms of the Subcontract, Davis is entitled to its

attorneys' fees.
SECOND CLAIM FOR RELIEF

(Common Count - Reasonable Value - Against A&D)

16. Davis realleges and incorporates by reference paragraphs 1 through
15, above, as though set forth in full at this point.

17. Within the last year, Davis furnished construction labor, services,
materials and equipment to A&D at the special request of A&D for the Project,
who then and there promised to pay Davis the reasonable value of such labor,
services, materials and equipment

18. The total and reasonable value of the labor, services, materials and
equipment furnished by Davis to A&D was, and is, the sum of at least
$776,036.25.

4
COMPLAlNT ON MlLLER ACT PAYMENT BOND

 

LAW OFFlCES OF l\/IURRAY l\/L HELM, JR.
550 V\/est “C" StreeL Suite 1155
San Diego, California 92101
(619) 234~6744

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19. Despite demand by Davis, there is now due, owing and unpaid by
A&D to Davis the balance of at least $6,672.73, together with interest at the

maximum legal rate from a date according to proof.
THIRD CLAIM FOR RELIEF
(Common Count-Open Book Account - Against A&D)

20. Davis realleges and incorporates by reference paragraphs 1 through
15, above, as though set forth in full at this point.

21. Within the last year in the County of Ventura A&D became indebted
to Davis on an open book account in the principal sum of at least $776,036.25.

22. Only part of this sum has been paid, despite demand, and there is
now due, owing and unpaid by A&D to Davis the principal sum of at least
$6,672.73, together with interest at the maximum legal rate from and after a date
according to proof.

23. Pursuant to California Civil Code, section 1717.5, Davis is entitled
to reasonable attorneys’ fees incurred in connection with the open book account

FOURTH CLAIl\/I FOR RELIEF
(Common Count- Account Stated- Against A&D)

24. Davis realleges and incorporates by reference paragraphs 1 through
15, above, as though fully set forth in full at this point.

25. Within the last four years in the County of Ventura, California, an
account was stated in writing between Davis and A&D, wherein it was agreed
A&D was indebted to Davis in the amount of at least $776,036.25.

26. Only part of this sum has been paid, and there is now due, owing
and unpaid by A&D to Davis the principal sum of at least $6,672.73, together
with interest at the maximum legally permissible rate from and after a date
according to proof.

FIFTH CLAIl\/I F()R RELIEF

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LAW OFF|CES OF i\/lURRAY l\/l. HELM, JR.
550 West “C" Streel, Suite 1155
San Diego, California 92101
(619) 2346744

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(l\/liller Act Payment Bond, 40 U.S.C. 3131-3134 - Against A&D and Hartford)

27 . Davis realleges and incorporates by reference paragraphs 1 through
26, above, as though set forth in full at this point.

28. The Payment Bond described in paragraph 8, above, was delivered
to the Government and accepted by it, and inures to the benefit of Davis. A true
and correct copy of the Payment Bond is attached as Exhibit “2” and
incorporated by reference as though set forth in full at this point.

29. Within 90 days of the last date on which Davis furnished labor,
services, materials and equipment to the Project Davis gave, or was excused from
giving because Davis had a direct contractual relationship with A&D, written
notice of its claim pursuant to 40 U,S.C. section 3133(b)(1) - (b)(2). j

30. A period of more than 90 days, but less than one year, has elapsed
since the last date on which Davis furnished labor and materials to A&D on the
Project.

31. A&D and Hartford improperly failed to pay Davis the total amount
due for the labor, services, materials and equipment furnished by Davis under the
Subcontract, and failed to pay Davis the interest due as a result of A&D’s
untimely payment of progress and retention invoices submitted to it by Davis.

32. As a direct and proximate result of A&D's and Hartford's failure to

pay, Davis has incurred damages in the sum of at least $6,672.73. Pursuant to the

' Payment Bond described in paragraph 8, above, there is now due and owing,

jointly and severally from A&D and Hartford to Davis, the sum of at least
$6,672.73, together with interest at the maximum legal rate from a date according
to proof.

33. Pursuant to the Payment Bond and the Subcontract, Davis is entitled
to attorneys' fees and costs in this action.
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COMPLAINT ON MILLER ACT PAYMENT BOND

 

LAW OFFICES GF |\/lURRAY i\/l. HELM, JR.
550 We$t “C” Streef, Suite 1155
San Diego, California 92101

(61 9) 234~6744

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SIXTH CLAIl\/l FOR RELIEF

(Violation of the Prompt Pa ment Act, 31 U.S.C. §§3901-3907
- Against &D and Hartford)

34. Davis realleges and incorporates by reference paragraphs 1 through
33, above, as though set forth in full at this point.

35. Davis is informed and believes A&D submitted progress and
retention payment requests to the Government which included requests for
payment for work performed by Davis, and was paid in full by the Government
for such work performed by Davis on the Proj ect.

36. Davis is informed and believes A&D failed to make payment to
Davis in the amount of Davis’ proportionate share within 7 days of A&D’s
receipt of each such progress and retention payment from the Government

37. A&D’s failure to pay Davis’ proportionate share within 7 days of
receipt of each progress and retention payment from the Government is a
violation of the Prompt Payment Act, 31 U.S.C. sections 3901-3907, and entitles
Davis to an award of interest on each such payment from the time each such
payment should have been made until actually paid.

38. Davis is informed and believes A&D failed to furnish Davis and the
Government written notice of any withholding of funds from Davis, as required
by 31 U.S.C. section 3905(g).

39. Pursuant to the terms of the Payment Bond provided by Hartford,
and described in paragraph 8, above, Hartford is liable to Davis for the sanctions
described in paragraphs37 and 38, above, to the same extent as A&D.

SEVENTH CLAIl\/I FOR RELIEF

(Violation of California Business and Professions
Code § 7108.5 - Against A&D and Hartford)

40. Davis realleges and incorporates by reference paragraphs 1 through
33, above, as though set forth in full at this point.
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COMPLAINT ON MILLER ACT PAYMENT BOND

 

LAW OFF|CES OF MURRAY l\/t HELM, JR.
550 VVest “C” Streel. Suite 1155
San Diego, California 92101
(619) 234-6744

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41. Davis is informed and believes A&D submitted progress and
retention payment requests to the Government which included requests for
payment for work performed by Davis, and was paid in full by the Government
for such work performed by Davis on the Project. l

42. Davis is informed and believes A&D failed to make payment to
Davis in the amount of Davis’ proportionate share within 7 days of A&D’s
receipt of each such progress and retention payment from the Government

43. A&D’s-failure to pay Davis’s proportionate share within 10 days of
receipt of each progress and retention payment from the Government is a
violation of California Business and Professions Code, section 7108,5, and
entitles Davis to an award of two percent interest per month on each such
payment from the time each such payment should have been made until actually
paid.

44. Pursuant to California Business and Professions Code, section
7108.5, Davis is entitled to an award of attorneys’ fees and costs incurred to
collect the balance of progress and retention payments due.

45. Pursuant to the terms of the Payment Bond provided by Hartford,
and described in paragraph 8, above, Hartford is liable to Davis for the sanctions
described in paragraphs 43 and 44, above, to the same extent as A&D.

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COMPLAINT ON MILLER ACT PAYl\/IENT BOND

 

LAW OFF|CES OF |\/|URRAY 1\/1. HEL|\/l, JR.
550 VVest “C" Street, Suite 1155
San Diego. California 92101
(619) 234-6744

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WHEREFORE, Davis prays judgment against defendants, as follows:
ON Tl-IE FIRST5 TI-HRD, FOURTH, FIFTH AND SEVENTH CLAIMS FOR

RELIEF:

1. For reasonable attorneys’ fees to be fixed by the Court upon post-

judgment motion.

ON ALL CLAIl\/IS FOR RELIEF:

1, For the principal sum of at least $6,672.73;

2. For consequential damages;

3. For costs of suit;

4. For interest at the maximum legal rate from a date according to

proof; and

5. For such other relief as the Court deems just.
DATED: September 27 , 2018 Respectfully submitted,
LAW GFFICES OF

l\/IURRAY l\/I. HELl\/l, JR.

By: /s Murrczv M. Helm, Jr.

MURRAY 1\/1. I-IELM, JR.
Attorne s for Use-Plaintiff Hudson P.
Davis, nc. dba Davis Mechanical
Systems

9
COMPLA[NT ON MlLLER ACT PAYMENT BOND

 

 

 

LAW OFF|CES OF |\/|URRAY 1\/1. HELM. JR.
550 West “C" Street, Suite 1155
San Diego, California 92101

(619) 234»6744

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DEl\/IAND FOR JURY TRIAL
Davis demands a trial by jury,
DATED: September 27, 2018 Respectfully submitted,
LAW OFFICES OF
l\/IURRAY M. HELM, JR.
/s Murrczv M Helm, Jr.
l\/IURRAY M. HELM, JR.
Attorneys for Use-Plaintiff Hudson P,
Davis, lnc., dba Davis Mechanical
Systems
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LAW OFF|CES OF |\/IURRAY M. HELI\/l, JR.
550 West C Street Suite 1155
San Diego, California 92101
(619) 234-6744

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Exhibit “ l ”
Exhibit “2”

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1 1

 

 

 

COMPLAINT ON MlLLER ACT PAYMENT BOND

 

